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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                             10/20/2020
UNITED STATES OF AMERICA,                                 :
                                                          :
                      -v-                                 :
                                                          :      20-CR-493 (VSB)
MOISES LLUBERES,                                          :
                                                          :           ORDER
                                    Defendant.            :
                                                          :
--------------------------------------------------------- X

VERNON S. BRODERICK, United States District Judge:

        I am in receipt of Defendant’s October 9, 2020 bail appeal request relating to Defendant

Moises Lluberes (“Lluberes”).

        Defendant Moises Lluberes’s request for a bail appeal is granted. The Defendant must

abide by the follow conditions as follows:

    1. A $500,000 personal recognizance bond, co-signed by four financially responsible

        persons and Mr. Lluberes’ wife, and secured by (a) Mr. Lluberes Florida home in the

        Middle District of Florida, (b) liquidating Mr. Lluberes’ CoinBase digital currency

        account of approximately $250,000 up to the full amount of the bond if the value of the

        account is greater, and (c) Mr. Lluberes’ home in the Dominican Republic;

    2. Home detention at his house in the Middle District of Florida, and electronic monitoring

        as directed by Pretrial Services;

    3. Travel restricted to the Southern and Eastern Districts of New York and the Middle

        District of Florida (and points in-between for purposes of travel to and from Court and

        meeting with his counsel);
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   4. Surrender or continued surrender of Mr. Lluberes’ travel documents, including all

      passports issued by the United States and/or the Dominican Republic, and Lluberes shall

      not attempt to secure any travel documents in the future from any country;

   5. Agreement waiving any extradition rights Mr. Lluberes may have as a Dominican citizen

      and agreeing to be returned to the United States immediately to face these proceedings if

      he were found to be in the Dominican Republic following his pretrial release. The parties

      are directed to draft an agreement in a form that will be or is most likely to be accepted

      by the Dominican government as a valid and enforceable waiver;

   6. Supervision by Pretrial Services, including associational bars, as directed;

   7. Defendant shall not be released until (a) all co-singers have signed the bond, (b) all of

      documents related to Mr. Lluberes’ CoinBase digital currency account are turned over to

      the Government, including documents that evidence deposits and/or withdrawals since

      the account was opened, and (c) Mr. Lluberes’ access to the key for his CoinBase digital

      currency account is restricted such that he cannot take any action with regard to the

      account except for the liquidation of the account and/or the key is placed in the

      Government’s custody.

      The Clerk’s Office is directed to terminate docket entry 24.

SO ORDERED.

Dated: October 16, 2020
       New York, New York


                                                     __________________
                                                     Vernon S. Broderick




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